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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION



 ROTHSCHILD BROADCAST DISTRIBUTION
 SYSTEMS LLC,                                               Hon. Robert W. Schroeder, III

                Plaintiff,                                  JURY TRIAL DEMANDED
         v.                                                 CASE NO. 6:15-CV-526

 LATAKOO, INC.,

                Defendant.


     .

                                                 ORDER

         Came for consideration before the Court is the Stipulation of Dismissal with Prejudice of

 Defendant Latakoo, Inc., pursuant to Fed. R. Civ. P. 41(a). Upon consideration of the same, the

 Court is of the opinion that the Dismissal of Defendant Latakoo, Inc., with prejudice should be

 GRANTED.

         It is further ORDERED that each party is to bear its own attorneys’ fees and costs.

         SIGNED this 4th day of December, 2015.




                                                           ____________________________________
                                                           ROBERT W. SCHROEDER III
                                                           UNITED STATES DISTRICT JUDGE
